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 3
 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:11-cr-00396-MMD-PAL
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   STEVE YOST,                               )
                                               )
11                     Defendants.             )
     __________________________________________)
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            This matter is before the Court on Defendant’s Motion for Pretrial Release (#135), filed
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     January 8, 2013. Pursuant to Local Rule IA 10-6, a party who is represented by counsel may not
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     appear or act in the case. Defendant should file his motion through his assigned counsel.
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     Accordingly,
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            IT IS HEREBY ORDERED that Defendant’s Motion for Pretrial Release (#135) is
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     denied.
18
            DATED this 10th day of January, 2013
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21                                                ______________________________________
                                                  C.W. Hoffman, Jr.
22                                                United States Magistrate Judge
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